Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 1 of 15
      Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 2 of 15




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

AUGUST DEKKER, et al.,

      Plaintiffs,

v.                                            Case No. 4:22-cv-00325-RH-MAF

SIMONE MARSTILLER, et al.,

     Defendants.
____________________________/

       NOTICE OF SUBPOENA TO PRODUCE DOCUMENTS AND
        INFORMATION OF UNINCORPORATED ASSOCIATION

      To:           Society for Adolescent Health and Medicine
                    C/O 850 Tenth St., N.W.
                    Washington, D.C. 20001

      To all parties and their attorneys of record:

      Please take notice that pursuant to Rules 26 and 45 of the Federal Rules of

Civil Procedure, Defendants Simone Marstiller and the Agency for Health Care

Administration, by and through their attorneys, will serve a subpoena (“the

Subpoena”) to the Society for Adolescent Health and Medicine (“the Entity”) that

commands it to produce documents in response to the requests set forth in Exhibit

A to the Subpoena by December 12, 2022, or such other date as mutually agreed

upon. A copy of the subpoena, including Exhibit A, is attached to this Notice as

Exhibit 1.
      Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 3 of 15




      Defendants seek to examine (1) the Entity’s policy position on gender-

affirming care for gender dysphoria; (2) any guidelines, standards, best-practices, or

policy positions considered or adopted by the Entity for the treatment of gender

dysphoria; (3) any side effects and risks associated with the treatments

recommended through a guideline, standard, best-practice, or policy; (3) how the

Entity is organized so that Defendants may determine the process used to adopt (or

approve) any guidelines, standards, best-practices, or policy positions concerning

the treatment of gender dysphoria; (4) how many of the Entity’s members, if any,

voted to support any guidelines, standards, best-practices, or policy positions; and

(5) why the Entity sought to file an amicus brief in this case.




                                          2
      Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 4 of 15




Dated: November 15, 2022                      /s/ Mohammad O. Jazil
                                              Mohammad O. Jazil (FBN 72556)
                                              Gary V. Perko (FBN 855898)
                                              Michael Beato (FBN 1017715)
                                              mjazil@holtzmanvogel.com
                                              gperko@holtzmanvogel.com
                                              mbeato@holtzmanvogel.com
                                              HOLTZMAN VOGEL BARAN
                                              TORCHINSKY & JOSEFIAK PLLC
                                              119 S. Monroe St., Suite 500
                                              Tallahassee, FL 32301
                                              (850) 270-5938
                                              Counsel for Secretary Marstiller and
                                              the Agency for Health Care
                                              Administration


                        CERTIFICATE OF SERVICE
      I hereby certify that on November 15, 2022 a true and correct copy of the

foregoing document was served upon all counsel of record via email, as follows:

Chelsea Lee Dunn                            Gary Joseph Shaw
SOUTHERN LEGAL COUNSEL                      PILLSBURY WINTHROP SHAW
1229 NW 12th Ave                            1200 17th Street NW
Gainesville, FL 32601                       Washington, DC 20036
Chelsea.Dunn@southernlegal.org              Gary.Shaw@pillsburylaw.com

Katherine Jean Ann Debriere
FLORIDA HEALTH JUSTICE                      Joseph K. Little
PROJECT                                     PILLSBURY WINTHROP SHAW
3900 Richmond Street                        500 Capitol Mall, Suite 1800
Jacksonville, FL 32205                      Sacramento, CA 95814
Debriere@floridahealthjustice.org           Joe.Little@pillsburylaw.com

Simone Michelle Chriss                      Omar Gonzalez-Pagan
SOUTHERN LEGAL COUNSEL INC                  LAMBDA LEGAL
1229 NW 12th Ave                            120 Wall Street, 19th Floor

                                        3
     Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 5 of 15




Gainesville, FL 32601                   New York, NY 10005
                                        OGonzalez-Pagan@lambdalegal.org
Abigail K Coursolle
NATIONAL HEALTH LAW                     Shani Rivaux
PROGRAM – LOS ANGELES                   PILLSBURY WINTHROP SHAW
3701 Wilshire Boulevard                 600 Brickell Ave, Suite 3100
Suite 315                               Miami, FL 33131
Los Angeles, CA 90010                   Shani.Rivaux@pillsburylaw.com
Coursolle@healthlaw.org
                                        William Clarke Miller
Carl Solomon Charles                    PILLSBURY WINTHROP SHAW
LAMBDA LEGAL                            1200 17th Street NW
1 West Court Square, Suite 105          Washington, DC 20036
Decatur, GA 30030                       William.C.Miller@pillsburylaw.com
CCharles@lambdalegal.org
                                        Jennifer G. Altman
Catherine Anne McKee                    PILLSBURY WINTHROP SHAW
NATIONAL HEALTH LAW                     600 Brickell Ave, Suite 3100
PROGRAM – CHAPEL HILL                   Miami, FL 33131
1512 E Franklin St, Suite 110           Jennifer.Altman@pillsburylaw.com
Chapel hill, NC 27514
Mckee@healthlaw.org                     Counsel for Plaintiffs




                                          /s/ Mohammad O. Jazil
                                          Mohammad O. Jazil




                                    4
Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 6 of 15




                          EXHIBIT 1




                               5
                     Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 7 of 15
 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Northern District
                                                        __________ Districtof
                                                                            ofFlorida
                                                                              __________
                   AUGUST DEKKER, et al.,
                                                                                )
                                Plaintiff                                       )
                                   v.                                           )       Civil Action No. 4:22-cv-00325-RH-MAF
                SIMONE MARSTILLER, et al.,
                                                                                )
                                                                                )
                               Defendant                                        )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:

                                                        (Name of person to whom this subpoena is directed)

         Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material:       See Exhibit A.



  Place:        2300 N Street NW, Suite 643A                                             Date and Time:
                Washington, DC 20037                                                        December 12, 2022 10:00 a.m.

         Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                 Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached  Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        11/15/2022

                                   CLERK OF COURT
                                                                                             OR
                                                                                                                  /s/ Mohammad O. Jazil
                                            Signature of Clerk or Deputy Clerk                                         Attorneys signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Secretary Marstiller
and the Florida Agency for Health Care Administration                    , who issues or requests this subpoena, are:
Mohammad O. Jazil, 119 South Monroe St., Suite 500, Tallahassee, FL 32301, mjazil@holtzmanvogel.com,
850-391-0503
                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                    Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 8 of 15
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:22-cv-00325-RH-MAF

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

                I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

                I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one days attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Servers signature



                                                                                                 Printed name and title




                                                                                                    Servers address

Additional information regarding attempted service, etc.:
                     Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 9 of 15
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained experts opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the experts
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a partys officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanctionwhich may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorneys feeson a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premisesor to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a partys officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is requiredand also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing courtmay hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
      Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 10 of 15




                                     EXHIBIT A

                                  INSTRUCTIONS

      1.     Pursuant to Rule 45(e) of the Federal Rules of Civil Procedure, you

must produce documents as they are kept in the ordinary course of business or must

organize and label them to correspond to the categories in this demand.

      2.     Electronically stored information (“ESI”) shall be produced in a form

ready to load to an electronic discovery platform: either single-page Tagged Image

File Format (.TIFF) or document-level PDF files, along with image load files

(.OPT), document-level text (.TXT) files, and a metadata load file (.DAT). single-

page TIFF images should be named according to a unique and sequential Bates

number. The image load files should indicate page breaks, and each TIFF in a

production must be referenced in the corresponding image load file. During the

process of converting ESI from the electronic format of the application in which the

ESI is normally created, viewed, and/or modified to TIFF, metadata values should

be extracted and produced in the .DAT file. To the extent they are available, the

metadata values that are to be extracted and produced in the .DAT file are: (a) for

emails: email subject, author, recipient, CC, BCC, received date, received time, sent

date, sent time; (b) for electronic files: file name, author created date, created time,

modified time, and extension; ( c) for all ESI: custodian or source, original path, and

MD5 Hash; and (d) for documents that contained an attachment: production number


                                           6
      Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 11 of 15




begin, production number end, production attachment range number begin,

production attachment range number end, attachment name, and production doc

page count. Files that are not easily converted to image format, such as spreadsheet,

presentation, audio and video, database, and drawing files, should be produced in

native format. If a document is produced in native format, a single-page

Bates-stamped TIFF image slip-sheet containing text stating the document has been

produced in native format should also be provided. Each such native file should be

named for its Bates number with its original file extension, and should be linked

directly to its corresponding record in the load file using the NativeFileLink field.

      3.     If a claim of privilege or other protection is asserted, you must expressly

make the claim and describe the nature of the withheld documents, communications,

or tangible things in a manner that, without revealing information itself privileged

or protected, will enable the parties to assess the claim.

      4.     These requests call for the production of all responsive documents in

your possession, custody, or control.

                                   DEFINITIONS

      1.     “And” and “or” shall be construed either conjunctively or disjunctively,

whichever provides the broadest meaning possible.

      2.     “Any,” “each,” and “every” should be understood to include and

encompass “all.”


                                           7
      Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 12 of 15




      3.     “Communication” means any means of written or oral communication,

including but not limited to via telephone, letter, notes, email, facsimile, memoranda,

face-to-face meetings, electronic calendar appointments and meetings, text message,

instant message, and social media or other apps.

      4.     “Document” or “documents” have the broadest meaning that can be

ascribed pursuant to Federal Rule of Civil Procedure 34. These terms include emails,

correspondence, messages on any messaging platform (e.g., Signal, WhatsApp,

Teams), social media posts and content, notes, memoranda, reports, calendar entries,

telexes, facsimile transmissions, presentation materials, minutes of meetings,

telecopies, photographs, pictures, recordings, messages, or call logs. These terms

also include any originals or drafts, in any form or medium.

      5.     “Include” or “including” are to be read as followed by the phrase

“without limitation” and have the broadest meaning possible.

      6.     “Relating to” means respecting, referring to, stating, describing,

containing, mentioning, discussing, associated with, pertaining to, or relevant to, the

item or subject matter set forth in the request.

      7.     “Gender dysphoria” is defined in accordance with the September 27,

2022 Brief of Amici Curiae American Academy of Pediatrics and Additional

National and State Medical and Mental Health Organizations in Support of




                                           8
      Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 13 of 15




Plaintiffs’ Motion for Preliminary Injunction, in Dekker v. Marstiller, 4:22-cv-

00325-RH-MAF (N.D. Fla.).

      8.     “Gender affirming care” is defined to include social transitioning,

hormone therapy (including cross-sex hormones and puberty blockers), and surgery.

      9.     “Members” or “membership” is defined to include all members,

fellows, students, residents, agents, or any other individuals associated or affiliated

with your organization.

      10.    “You” or “your” is defined as the Society for Adolescent Health and

Medicine and any of its members.




                                          9
      Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 14 of 15




                         REQUESTS FOR PRODUCTION

Request No. 1:      Any documents that state the total number of your membership.

Request No. 2:      Any documents that describe how you establish guidelines,

standards, best-practices, or policy positions.

Request No. 3:      Any documents describing how you established guidelines,

standards, best-practices, or policy positions on gender-affirming care for gender

dysphoria. Any documents and communications showing the individuals or

committees that proposed, reviewed, modified, or voted on your guidelines,

standards, best-practices, or policy positions on gender-affirming care for gender

dysphoria.

Request No. 4:      Any communications with your membership concerning your

guidelines, standards, best-practices, or policy positions on gender-affirming care

for gender dysphoria.

Request No. 5:      Any documents and communications detailing your intention to

file an amicus brief in Dekker v. Marstiller, 4:22-cv-00325-RH-MAF (N.D. Fla.).

Request No. 6:      Any documents and communications with consultants, federal or

Florida government officials, lobbyists, researchers, scholars, members of the public,

or any other person relating to gender dysphoria or your guidelines, standards, best-

practices, or policy positions on gender-affirming care for gender dysphoria.




                                          10
     Case 1:23-mc-00004-CJN Document 1-18 Filed 01/13/23 Page 15 of 15




Request No. 7:    Any documents and communications showing any side effects

and risks associated with the treatments recommended through your guidelines,

standards, best-practices, or policy positions on gender-affirming care for gender

dysphoria.




                                       11
